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                          UNITED STATES DISTRICT COURT

                          EASTERN DISTRICT OF LOUISIANA

  IN RE: FEMA TRAILER
  FORMALDEHYDE PRODUCTS                         MDL NO. 07-1873
  LIABILITY LITIGATION
                                                SECTION "N" (5)
  THIS DOCUMENT RELATES
  TO THE FOLLOWING CASES:
  Louis Bosarge, et al v. R Vision Homes, LLC., et al
  Civil Action Number 10-0223



                                          ORDER


         CONSIDERING THE FOREGOING:

         IT IS ORDERED that Plaintiffs be granted Leave of Court to file their supplemental

  and amending complaint for the purpose of matching the third party contractor/installer,

  pursuant to Pretrial Order No. 53.

         IT IS FURTHER ORDERED that the Plaintiff's Supplemental and Amending

  Complaint be filed herein and the Original Complaint and all subsequent amending
          Hello
  complaints     This is athereby.
             be amended    Test
                                                     April
         New Orleans, Louisiana, this the 6th day of March, 2010.




                                                JUDGE




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